                    Case 1:07-cr-00244-LJO Document 127 Filed 08/14/09 Page 1 of 2



      1   DAVID BALAKIAN
          Attorney for Defendant
      2   SANTIAGO E. JUAREZ
          Attorney for Defendant
      3   Raul Navarette
          Pro Hac Vice
      4   P.O. Box 1960
          Santa Cruz, New Mexico 87567
      5   505-747-7190
      6   UNITED STATES DISTRICT COURT
          EASTERN DISTRICT OF CALIFORNIA
      7

      8

      9                                                      ) Case No.: 7-CR-00244-00W
          UNITED STATES OF AMERICA,                          )
     10                                                      ) STIPULATION AND ORDER TO
                          Plaintiff,                         ) CONTINUE SENTENCING
     11                                                      )
                 vs.                                         )
     12                                                      )
          RAUL NAVARRETE,                                    )
     13                                                      )
                          Defendant                          )
     14

     15

     16
                  The parties hereby stipulate and agree that the sentencing for Raul Navarette be continued.
     17
                  Pursuant to Federal Rules of Criminal Procedure section 18 U.S.C. 3161, the parties agree
     18

     19   that any delay resulting from this continuance shall be excluded in the interest of justice.
     20
                  The parties agree that the new sentencing date be set for August 31st, 2009 at 1:30pm if such
     21

     22
          is convenient on this courts calendar.

     23

     24

     25                                                        Dated August 13, 2009,
     26

     27                                                                       /S/DAVID BALAKIAN
                                                                             DAVID BALAKIAN
     28                                                                      Attorney for Defendant
                                                                             SANTIAGO E. JUAREZ
     29                                                                      Attorney Pro Hace Vice
     30

     31

     32




                                                      STIPULATION 1


PDF created with pdfFactory trial version www.pdffactory.com
                  Case 1:07-cr-00244-LJO Document 127 Filed 08/14/09 Page 2 of 2



      1
                                                               _/S/_KEVIN ROONEY
      2                                                             KEVIN ROONEY
      3                                                             Assistant U.S. Attorney
                                                                    Agrees to Stipulation
      4

      5
                                                ORDER
      6

      7   IT IS SO ORDERED
      8
          DATED: August 14, 2009
      9

     10
                _/s/ OLIVER W WANGER______________
     11         HONORABLE OLIVER WANGER
                U.S. DISTRICT COURT JUDGE
     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

     26

     27

     28

     29

     30

     31

     32




                                             STIPULATION 2


PDF created with pdfFactory trial version www.pdffactory.com
